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  In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
DEBRA L. DUDA,           *
                         *                         No. 19-31V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: December 21, 2021
                         *
SECRETARY OF HEALTH      *                         Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,      *                         adhesive capsulitis.
                         *
             Respondent. *
******************** *

Mark T. Sadaka, Law Offices of Sadaka Associates, LLC, Englewood, NJ, for
Petitioner;
Lara A. Englund, United States Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On December 21, 2021, the parties filed a joint stipulation concerning the
petition for compensation filed by Debra Duda on January 4, 2019. Petitioner
alleged that the influenza (“flu”) vaccine she received on December 6, 2017, which
is contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), caused
her to suffer adhesive capsulitis. Petitioner further alleges that she suffered the
residual effects of this injury for more than six months. Petitioner represents that
there has been no prior award or settlement of a civil action for damages on her
behalf as a result of her condition.

      Respondent denies that the flu vaccine caused petitioner to suffer from
adhesive capsulitis or any other injury.


       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $12,500.00 in the form of a check payable to
       petitioner. This amount represents compensation for all damages that
       would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment according to this decision and the attached
stipulation.2

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
                                                2
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